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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

               v.                                      Case No. 1:21-cr-175-2-TJK

JOSEPH R. BIGGS, et al.,
               Defendants.

              MOTION TO CLARIFY DECEMBER 2022 TRIAL SCHEDULE

       Defendant Biggs respectfully moves the Court to clarify or confirm its current thinking on

the trial schedule for this action in December 2022. Defendant Tarrio also joins in this motion.

Three months ago, the Court granted a motion to continue the trial from August 8 until December

12. It is the undersigned’s good faith recollection that at that time the schedule preferred by the

Court was as follows:

December 12-16 (entire week),
December 19-22 (exclude Friday, December 23),
December 27-30 (exclude Monday, December 26), and
Resume trial on Tuesday, January 3, 2023.

      Biggs, Tarrio and possibly other parties would be grateful for any guidance the Court could

provide on trial days during the holiday season it envisions at this point.


                                             Respectfully submitted,

Dated: October 16, 2022                      By: /s/ J. Daniel Hull
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                                CERTIFICATE OF SERVICE

      The undersigned certifies that on October 16, 2022, he served a true and correct copy of

the foregoing Motion to Clarify December 2022 Trial Schedule upon all counsel of record via

the Electronic Case Filing (ECF) system.


                                            By: /s/ J. Daniel Hull
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